                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

   NISUS CORPORATION, a Tennessee      )
   Corporation,                        )
                                       )
         Plaintiff,                    )
                                       )
   v.                                  )     No. 3:03-CV-120
                                       )     Varlan/Shirley
   PERMA-CHINK SYSTEMS, INC., a        )
   Washington Corporation,             )
                                       )
         Defendant.                    )
   ______________________________________________________________________________
   PLAINTIFF NISUS CORPORATION’S OPPOSITION TO PERMA-CHINK’S MOTION
          TO COMPEL DOCUMENTS CITED IN NISUS’ PRIVILEGE LOGS

             Nisus’ privileged materials are properly designated. If the Court has any questions or

   reservations on this issue, Nisus is happy to provide its privileged materials for an in camera

   review.

             With that said, it bears noting that Perma-Chink apparently was a little forgetful when it

   filed its Motion. Perma-Chink apparently did not remember that it has never addressed its issues

   with Nisus’ “Initial Log,” contrary to the requirements of Rule 37(a)(2)(A). Perma-Chink also

   apparently forgot that in addressing the next log, Nisus’ “Supplemental Privilege Log,” Nisus

   noted that Perma-Chink’s corresponding privilege log contained the same alleged “deficiencies,”

   which then somehow prompted Perma-Chink to drop its complaints—until now. Then, to

   attempt to resolve Perma-Chink’s contentions regarding the third log, the “Second Supplemental

   Privilege Log,” Nisus provided Perma-Chink with both legal authorities undermining Perma-

   Chink’s arguments and a declaration correcting its factual contentions, but Perma-Chink then

   forgot to cite or mention either of these documents.




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           Perma-Chink also attempts to cast Nisus in a disparaging light, which seems to arise from

   some additional memory lapses. For example, Nisus produced its “Supplemental Log” before

   Perma-Chick issued its relevant deposition notices, yet the Motion incorrectly states the log was

   “only provided to Perma-Chink after a subpoena to the lab personnel listed on the supplemental

   log” was served. Perma-Chink’s Motion, at 6 (emphasis added). As another example, Perma-

   Chink contends that the communications between Nisus’ counsel and its litigation consultant,

   Ms. Kimberlee Davis, are “clearly responsive to earlier Perma-Chink document requests under

   Fed. R. Civ. P. 34(a).” Perma-Chink’s Motion, at 7. Perma-Chink seems to be misremembering

   its Rule 34 requests, and it even forgot to note or quote which discovery encompasses these

   privileged communications that were supposedly “clearly” requested earlier.

           If Perma-Chink had been willing to discuss these issues with Nisus before filing its

   Motion as Rule 37 requires and as Judge Shirley had encouraged, then Perma-Chink’s memory

   could have been refreshed—and possibly its concerns alleviated or at least greatly reduced.1

   That, unfortunately, did not happen. Nisus thus is left to address all of Perma-Chink’s

   arguments, including those that are simply wrong.

       Perma-Chink Refused to Discuss its Issues Because of the Deficiencies in Its Own Logs

           Before discussing Perma-Chink’s charges, it is worthwhile to consider the initial

   privilege log that Perma-Chink produced, which is attached hereto as Exhibit 2. Throughout

   Perma-Chink’s log, there is no annotation who prepared the documents, for whom the documents

   were prepared, and other necessary information. For example, the third entry is described as

   1
     During the period after the August 3 telephone conference in which the parties were supposed to be attempting to
   resolve discovery disputes, Perma-Chink’s counsel made clear that a telephone discussion was unwelcome.
           It is difficult to understand how yet another discovery conferences [sic] between counsel would be
           productive under those circumstances. I don’t mean for that to sound provocative. It is simply a statement
           of fact.
   See Exhibit 1. Nisus disagrees, as many of the issues in this Motion could have been clarified without burdening the
   Court.

                                                            2                     Nisus’ Opposition to Perma-Chink’s
                                                                              Motion for Sanctions for Late Production
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   “Notes PFC [i.e., Notes Prepared for Counsel]” that is dated October 14, 1993—five years before

   this litigation ensued—yet work product privilege is asserted. There is absolutely no disclosure

   who prepared the “Notes” and for whom they were prepared. This entry is exemplary with the

   systematic problems in Perma-Chink’s log.

          The existence of these glaring deficiencies may explain why Perma-Chink opted to avoid

   the required conferring with Nisus about the vast majority of the privilege log issues before filing

   this Motion. Perma-Chink, instead, focused its pre-filing attention on one discrete issue

   involving Nisus’ “Second Supplemental Privilege Log.”

          Perma-Chink is living in the proverbial “glass house” and has no reservations about

   throwing stones. Perma-Chink, it seems, is trying to avoid defending itself by embarking on an

   aggressive offense, hoping that its own actions will not be questioned. All would have been

   better served if Perma-Chink had come to the Court with “clean hands.”

                                    Nisus’ “Initial Log” is Proper

          Nisus is surprised that Perma-Chink is litigating issues with what it has called the “Initial

   Log.” Had Perma-Chink addressed the issues raised before filing, it seems that many if not all of

   these issues could have been resolved. As a result, the Court likely would not be reading this

   section now.

   A.     Perma-Chink Should Have Abided by the Mandates of Rule 37

          Nisus produced what Perma-Chink has called the “Initial Log” in November 2003. For

   the next nine months, Perma-Chink never raised a single objection to its content. Then, without

   warning, Perma-Chink raised the “Initial Log” as the leadoff argument in its present Motion.

   This tactic runs afoul of Rule 37(a)(2)(A), which reads:

                 If a party fails to make a disclosure required by Rule 26(a), any other party may
          move to compel disclosure and for appropriate sanctions. The motion must include a


                                                    3                  Nisus’ Opposition to Perma-Chink’s
                                                                   Motion for Sanctions for Late Production
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           certification that the movant has in good faith conferred or attempted to confer with the
           party not making the disclosure in an effort to secure the disclosure without court action.
           (Emphasis added.)

   In addition, Perma-Chink’s actions contravene this Court’s Scheduling Order, which requires:

                  Parties shall first meet and/or confer in an attempt to resolve disputes between
           themselves, without judicial intervention

   Court File No. 15, at 2, ¶ 4(i)(1).

           In fact, in its “Agenda” for the August 3 telephone conference, Perma-Chink’s item “4”

   covers the privilege log issue, and it is limited to the “Second Supplemental Privilege Log.”

   Court File No. 145, at 1-2; see also id. at Attachment F (including only the “Second

   Supplemental Privilege Log” to its Agenda). Moreover, although Perma-Chink represents to the

   Court it has made “multiple requests” to resolve the issues raised in its Motion, Perma-Chink

   supports this representation by including a single letter dated July 20 that addresses only the

   “Second Supplemental Privilege Log.” Exacerbating the situation, Perma-Chink opted not to

   have any verbal communications regarding this Motion between the August 3 conference and

   filing this Motion, as Judge Shirley had encouraged. See Exhibit 1 (deeming discovery

   conference to be unproductive). This conduct is frustrating and wastes the Court’s and Nisus’

   resources.

   B.      The Material Designated in the “Initial Log” is Properly Withheld as Privileged

           In describing the “Initial Log,” Perma-Chink notes:

           Nisus lists twenty-nine documents (entries 1-29) that are directed to patent prosecution.
           Those documents are withheld on the basis of attorney-client privilege.

   Perma-Chink’s Motion, at 1.




                                                    4                  Nisus’ Opposition to Perma-Chink’s
                                                                   Motion for Sanctions for Late Production
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            Perma-Chink does not dispute that materials exchanged between patent counsel and his

   client are privileged, nor can it under Federal Circuit authority. Nisus addressed this point in its

   responses to Perma-Chink’s discovery requests:

                     Nisus further objects to this request to the extent it seeks documents subject to the
            attorney client and/or work product privileges. See, e.g., In re Spalding Sports
            Worldwide, Inc., 203 F.3d 800, 806 (Fed. Cir. 2000) (“Accordingly, since Spalding’s
            invention record was prepared and submitted primarily for the purpose of obtaining legal
            advice on patentability and legal services in preparing a patent application, we conclude
            that it is privileged in its entirety.”). Nisus will produce a privilege log for documents
            related to the patent-in-suit and the two predecessor applications, which did not issue as
            patents. To the extent relevant or discoverable, the privilege logs that Nisus produced in
            the Nisus I litigation address privilege documents that relate to patents and applications
            earlier in the priority chain and do not need to be reproduced. See Toone letter of
            October 15, 2003.

   See, e.g., Nisus’ Response to Document Request No. 1, at 5.

            Perma-Chink has never disputed Nisus’ analysis, and does not appear to do so in its

   Motion. Thus, the communication between Nisus principals and their patent attorneys is

   properly designated as privileged.

   C.       Nisus is not Improperly Withholding “Attachments”

            If Perma-Chink had only bothered to contact Nisus regarding this matter, the

   “attachments” issue could have been resolved. Nisus is not attempting to withhold any

   “attachments” related to the patent prosecution, but used an inartful entry under “Document

   Type.” In fact, every “attachment” was produced on September 2, 2003, over a month and a half

   before Nisus served its “Initial Log.”2 Nisus believes that this should conclude the matter.




   2
     The Bates numbers of the produced documents that correspond to the “attachments” start with respective pages
   Bates numbered NII 00761, NII 00766, NII 00795, NII 00799, and NII 00802. Based on Perma-Chink’s reckless
   propensity to cast aspersions and make allegations as to the veracity and good faith of Nisus’ counsel, Nisus
   suspects that Perma-Chink will charge that Nisus’ counsel cannot be trusted in this regard. If the Court desires to
   confirm this representation, the referenced Bates numbered documents will be provided along with the privileged
   correspondence to allow verification of Nisus’ representations.

                                                             5                     Nisus’ Opposition to Perma-Chink’s
                                                                               Motion for Sanctions for Late Production
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   D.        Perma-Chink Errantly Impugns Nisus and its Counsel

             Perma-Chink’s next argument offensively contends Nisus’ counsel is withholding

   correspondence related to the prosecution of patent applications that Nisus principals supposedly

   authored. It is unfortunate that Perma-Chink’s arguments repeatedly devolve to making such

   disparaging allegations—and Perma-Chink does so without any substantiation.

             Nisus produced a complete privilege log for all of the correspondence for the patent

   applications at issue. It is obviously difficult to defend against baseless claims of spoliation.

   Addressing these allegations is even harder here because Perma-Chink provides no support for

   its allegation, such as deposition testimony, so Nisus has no specific points to rebut. Nisus is left

   to note that it appears Perma-Chink is relying on rank speculation.

             If the Court desires to conduct its in camera review, Nisus will provide a copy of the

   patent application files as maintained in counsel’s office and a declaration from litigation counsel

   that no correspondence from Nisus principals was removed from the files either before preparing

   the privilege log or before providing these files to the Court. The three recipients of

   correspondence still associated with Nisus (Mr. Dietrich, Ms. Dietrich, and Mr. Kirkland) can

   each execute a declaration attesting that they have no recollection of sending written

   correspondence during the period at issue to counsel regarding the patent prosecution. Nisus

   submits, however, that Perma-Chink should be assessed the charges accrued in addressing these

   baseless, offensive charges.

   E.        Perma-Chink’s Last Argument is Illogical

             To conclude its arguments in this section, it is almost as if Perma-Chink simply copied a

   portion of a brief from a different lawsuit and pasted it into the present Motion. Perma-Chink

   argues:



                                                      6                  Nisus’ Opposition to Perma-Chink’s
                                                                     Motion for Sanctions for Late Production
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          Here, there is no way to know if Nisus’ counsel was simply copied on the correspondence
          it received or if that correspondence was directed to counsel for the purpose of securing
          legal advice.

   Perma-Chink’s Motion, at 5 (emphasis added).

          After impugning the integrity of Nisus because its principals did not use written

   correspondence to address the patent prosecution, how can Perma-Chink next allege that Nisus is

   trying to circumvent production by its principals just “copying” counsel on correspondence that

   was never written? This argument is non sequitur. As Perma-Chink pointed out, “[a]mazingly,

   each of those entries [in the Initial Log] is from Nisus’ attorneys to Nisus.” It makes no sense for

   Perma-Chink then to argue “it is unclear if each of the withheld documents that were allegedly

   sent to Nisus’ counsel were sent to other parties at the same time.”

          Again, Nisus would have been happy to address this issue if Perma-Chink had indicated

   the “Initial Log” was going to be the subject of a Motion. Instead, Nisus is left befuddled by

   Perma-Chink’s contention.

        Perma-Chink Makes Questionable Arguments Regarding Nisus’ Supplemental Log

          Nisus is likewise quite surprised that Perma-Chink’s Motion raises issues regarding the

   “Supplemental Privilege Log,” as Perma-Chink’s “Supplemental Privilege Log” suffers from the

   same alleged deficiencies. Moreover, Perma-Chink seems to have forgotten (1) he sequence of

   production of Nisus’ “Supplemental Privilege Log” and (2) that the parties already have

   addressed the issues Perma-Chink is arguing before the Court.

   A.     Perma-Chink Incorrectly Represents the Date of Production Relative to Its Subpoenas

          Perma-Chink makes the very curious (and false) representation that:

                 [A]s described above, this privilege log reflecting the withheld documents was
          only provided to Perma-Chink after a subpoena to the lab personnel listed on the
          supplemental log [sic, was served].



                                                    7                  Nisus’ Opposition to Perma-Chink’s
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   Perma-Chink’s Motion, at 6. It seems that Perma-Chink did not bother to verify this statement.

           Nisus produced the “Supplemental Privilege Log” on May 14 by letter. See Exhibit 3,

   ¶ 3 (“Finally, enclosed and served upon you is Plaintiff’s Supplemental Privilege Log.”). Then,

   four days later, Perma-Chink’s counsel sent a letter stating the following:

                  Prior to issuing four deposition notices, we would like to discuss dates that might
           be mutually convenient on your calendar. The depositions will be for Nisus’ EPA
           consultant, a 30b6 deposition for Nisus, followed by depositions of Sue Lloyd and Jeff
           Lloyd.

   Exhibit 4, at ¶ 1 (emphasis added).3 The correspondence unequivocally establishes the error in

   Perma-Chink’s representation that Nisus produced the “Supplemental Privilege Log” after being

   served with the subpoenas at issue.

           Of note, on the same day Perma-Chink filed this Motion, it also filed, inter alia, its

   Motion to Compel for Terms Relating to Cancellation of Lab Depositions, Court File No. 160.

   In that other pleading, Perma-Chink filed its own letter of May 18 as its Attachment B, which

   notes the subpoenas had not been issued yet. It is certainly unclear how Perma-Chink could

   handle this letter establishing Nisus produced its “Supplemental Privilege Log” before Perma-

   Chink issued the subpoenas and, on the same day it handled that letter, argue in the present

   Motion that this Log was “only belatedly identified after Perma-Chink served subpoenas on third

   parties.” Perma-Chink’s Motion, at 2 (emphasis added). There does not seem to be a rational

   explanation.

           Adding to the perplexity, Perma-Chink itself committed the actions it wrongly attributes

   to Nisus. That is, on March 18, Nisus served a subpoena on Mr. Palmere, a Perma-Chink

   employee. See Exhibit 5. Then, on March 30, Perma-Chink’s counsel wrote:


   3
     Despite the invitation, Perma-Chink’s counsel issued the deposition notices the next day before Nisus could even
   determine availability and respond. See Court File Nos. 112-115 (deposition notices filed with the Court on May 19
   for these four depositions).

                                                           8                    Nisus’ Opposition to Perma-Chink’s
                                                                            Motion for Sanctions for Late Production
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          This is to confirm that we agree to accept service of Mr. Palmere’s personal subpoena on
          his behalf and that we have requested that all of Mr. Palmere’s documents be produced to
          our offices as soon as possible. We request, however, a one week extension from April
          2nd to April 9th in order to give us sufficient time to bates number the documents, review
          and prepare an appropriate Privilege Log.

   Exhibit 6 (emphasis added). Perma-Chink’s Supplemental Privilege Log that was later produced

   is attached as Exhibit 7.

          Thus, unlike Nisus which produced its Supplemental Log before Perma-Chink served the

   subpoenas at issue, Perma-Chink produced its Supplemental Log directly in response to a

   subpoena. Yet, Perma-Chink makes the charge that:

          Because the third parties were always under Nisus’ control, questions arise as to why the
          documents were only identified at that time and not in response to prior document
          requests as required by Fed. R. Civ. P. 34(a) (“in possession, custody or control of the
          party upon whom the request is served”).

   Perma-Chink’s Motion, at 2 (emphasis added). It is very odd for Perma-Chink to raise negative

   inferences about its own conduct, but that is what has occurred.

   B.     Perma-Chink Ignores the Parties’ Prior Discussions Regarding this Log

          Perma-Chink’s arguments on this “Supplemental Privilege Log” become even more

   irrational for two reasons. First, Perma-Chink ignores the previous interchange that the parties

   have had regarding Nisus’ “Supplemental Privilege Log.” Second, as those discussions

   highlighted, Perma-Chink’s Supplemental Privilege Log has the same alleged deficiencies as

   Nisus’ corresponding log, undermining Perma-Chink’s requested relief.

          Perma-Chink starts off its argument stating that “[a]bsent from Nisus’ supplemental

   privilege log is the ‘date’ column.” Perma-Chink’s Motion, at 5. What Perma-Chink gains by

   disregarding the subsequent correspondence between the parties on this matter is unclear because

   Nisus is obviously going to correct the record, as it is doing here. To complete the story, Nisus

   addressed Perma-Chink’s contention on June 4:


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                  Also enclosed is a revised Supplemental Privilege Log, which includes a date
          column. The date information is the same as Perma-Chink provided in its Supplemental
          Privilege Log of April 19.

 Exhibit 8. A copy of the revised Supplemental Privilege Log, which for some reason Perma-

 Chink neglected to include or mention, is attached as Exhibit 9. Nisus assumes that this resolves

 the issue, as Nisus produced a Supplemental Privilege Log with a date column that includes

 exactly the same information as Perma-Chink’s corresponding Log. 4 Nisus assumes that this

 resolves Perma-Chink’s concern issue.5

          Perma-Chink then makes what seems to be a disingenuous argument that Nisus’

 descriptions of “experiments” and “photos” do not allow Perma-Chink “to examine the veracity

 of Nisus’ withholding.” Perma-Chink’s Motion, at 6. The actual entries are “Lab Analysis and

 Photos” and “Lab Analysis and Experiments.” See Exhibit 9. Interestingly, Perma-Chink’s

 Supplemental Log uses identical or very similar descriptions such as “Photos of Lab Analysis,”

 “Memo to Counsel re Photos,” and “Memo to Counsel re Lab Analysis.” See Exhibit 7. It is odd

 that Perma-Chink could use these terms in its privilege log, but not understand them when they

 appear in Nisus’. Again, Perma-Chink seemingly is in a proverbial “glass house.”




 4
    Compare Exhibit 7 (Perma-Chink’s Supplemental Privilege Log) with Exhibit 9 (Nisus’ revised Supplemental
 Privilege Log), in which both documents indicate “N/A” for the dates. See also Perma-Chink’s initial log (Exhibit
 2) (many dates omitted and designed as “no date”).
 5
    As a precaution, Nisus addresses Perma-Chink’s single argument made in this regard, namely, that “[f]or all
 Perma-Chink knows, those entries refer to documents sent to Nisus’ patent prosecution counsel 8 years ago during
 the prosecution of Nisus’ patents and have nothing to do with Nisus’ patent litigation strategy.” Motion, at 6.
 Perma-Chink actually “knows” better than this. The only two authors are Dr. and Ms. Lloyd. Perma-Chink has
 repeatedly been told that they did not join Nisus until after Nisus I discovery closed. See Nisus I Court File No. 306,
 at 8 (“Nisus has explained numerous times to Perma-Chink that it hired Dr. Lloyd in November 2001, which is
 about six months after discovery closed.”). Nisus recently reminded Perma-Chink’s counsel of this fact when
 meeting to resolve discovery disputes in Seattle.

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                        Nisus’ “Second Supplemental Privilege Log” is Proper

         Perma-Chink’s arguments regarding the “Second Supplemental Privilege Log” take issue

 with the materials withheld as “attachments” and the timing of production of the log. Both

 contentions are unpersuasive.

 A.      Ms. Davis’ Communications as a Litigation Consultant are Privileged

         Ms. Davis has been retained as a litigation consultant and confirmed this position by

 executing a written agreement in January 2004. See Exhibit 10. Nisus advised Perma-Chink of

 this fact, yet Perma-Chink specifically requested the privileged communications:

         All documents and things that relate to communications between Reg West, its
         employees and agents with attorneys for Nisus, including but not limited to attorneys at
         Merchant & Gould and attorneys at Lerner, David, Littenberg, Krumbolz & Mentlik,
         LLP.

 See Exhibit 11 (Schedule A of Davis subpoena), at 2-3. It seems that Perma-Chink is only

 seeking to invoke more litigation and motion practice by requesting privileged communications,

 knowing that they are not discoverable under Rule 26. But, that is the situation Perma-Chink has

 created.6

 B.      Perma-Chink Has Ignored and Disregarded Nisus’ Efforts to Resolve this Issue

         In Perma-Chink’s “Agenda” for the August 3 telephone conference, the only issue raised

 is the materials covered by the “Second Supplemental Privilege Log.” See Court File No. 145 at

 1-2. Nisus wrote a letter to Perma-Chink, dated July 26 (Exhibit 12), which Perma-Chink

 omitted from its “Attachments” to the present Motion and never mentions. Nisus also provided

 the Declaration of Ms. Davis (Exhibit 13), which likewise was neither referenced nor included as

 an “Attachment.” Although the parties were supposed to try to resolve discovery disputes before



 6
   This issue is further exacerbated given that Perma-Chink previously filed a motion to bar Nisus from taking any
 discovery from Perma-Chink’s EPA consultant, Mr. Jacoby. See Court File No. 35.

                                                         11                    Nisus’ Opposition to Perma-Chink’s
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 Perma-Chink filed this Motion, Nisus’ efforts were completely ignored and Perma-Chink has

 never provided a response to either document.

 C.      Perma-Chink’s Contentions are Negated by the Materials It Ignores

         The crux of Perma-Chink’s argument is that “Nisus’ EPA consultant (Kim Davis)

 testified that EPA documents (non-privileged) may have been attached to correspondence with

 Nisus’ counsel. (Davis deposition, pp 20-28).” Perma-Chink’s Motion, at 6 (emphasis added).

 This argument misconstrues Ms. Davis’s testimony and her subsequent clarification during the

 deposition.

         To try to conclude Perma-Chink’s creative interpretation of Ms. Davis’ testimony

 regarding her communications as a litigation consultant, her Declaration attests:

                I have also reviewed the privilege log that was produced related to my
         communications with Merchant & Gould and compared the log entries to the
         corresponding materials withheld from production. I confirm that every document I
         provided to Merchant & Gould in response to the subpoena involving communications
         between M&G and me after January 2004 is listed in the privilege log and included in the
         withheld privileged materials corresponding to the log entries. The only exception of
         which I am aware is for document having Bates number RW2 004934, which was
         produced.
                I can also confirm that the privilege log has not been used as a vehicle or means to
         withhold documents from Perma-Chink responsive to the subpoena. That is, if any Nisus
         borates/glycols products document from my files was an attachment to privileged
         correspondence, that same attachment had been produced directly from my files in
         response to the subpoena. As I stated in paragraph 6 above, I believe that I have provided
         every document from my Nisus files that involve borates/glycols products, and all these
         materials have been produced independent of my correspondence with Merchant &
         Gould.

 Exhibit 13, at ¶¶ 7-8. Thus, Ms. Davis confirms that no responsive documents to her subpoena

 were withheld, privileged communications not withstanding. This sworn representation squarely

 rebuts Perma-Chink’s contention, yet Perma-Chink ignores this Declaration. Because Perma-

 Chink refused to discuss this matter before filing the Motion, Nisus has no inkling why the

 refuted contention is still being litigated.

                                                 12                  Nisus’ Opposition to Perma-Chink’s
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        If Perma-Chink responds by attacking Ms. Davis’ credibility, Nisus’ July 26 letter

 addresses Perma-Chink’s previously raised arguments regarding disclosing the attachments to

 her correspondence as a litigation consultant. The attachments that Ms. Davis authored and

 received in her litigation consulting relate to and would disclose litigation strategy. Rule

 26(b)(3) protects against such disclosures because it “shelter[s] the mental processes of the

 attorney, providing a privileged area within which he can analyze and prepare his client’s case.”

 In re Cendant Corp. Securities Litigation, 343 F.3d 658, 661-62 (3d Cir. 2003). “[A] litigation

 consultant’s advice that is based on information disclosed during private communications

 between a client, his attorney, and a litigation consultant may be considered ‘opinion’ work

 product which requires a showing of exceptional circumstances in order for it to be

 discoverable.” Id. at 665.

        Moreover, in Sporck v. Peil, 759 F.2d 312 (3d Cir. 1985), the court considered an

 analogous issue and ruled:

                Because identification of the documents as a group will reveal defense counsel’s
        selection process, and thus his mental impressions, petitioner argues that identification of
        the documents as a group must be prevented to protect defense counsel’s work product.
        We agree.
                ****
                Such material is accorded an almost absolute protection from discovery because
        any slight factual content that such items may have is generally outweighed by the
        adversary system’s interest in maintaining the privacy of an attorney’s thought processes
        and in ensuring that each side relies on its own wit in preparing their respective cases

 Id. at 315-16.

        If Nisus were required to disclose the content of the attachments exchanged between Ms.

 Davis and its counsel, the content of the attachments would undoubtedly disclose the mental

 impressions and issues being explored for prosecuting this litigation. Perma-Chink cannot show

 the “exceptional circumstances” necessary to obtain this protected information, particularly



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 given Ms. Davis’ sworn representations that no documents subject to the subpoena were

 withheld, the materials listed in the “Second Supplemental Privilege Log” not withstanding.7

 D.      Perma-Chink’s Argument that Nisus Improperly Delayed Production of this Log is
         Based on a False Premise

         Perma-Chink contends that:

         Again, as described above, this second supplemental log was only provided to Perma-
         Chink after a subpoena to EPA consultant, Kim Davis [sic, was served]. . . . But these
         withheld documents, clearly responsive to earlier Perma-Chink document requests under
         Fed. R. Civ. P. 34(a), were not identified until Perma-Chink issued a subpoena.

 Perma-Chink’s Motion, at 6-7 (emphasis added). Contrary to Perma-Chink’s representation, the

 material in the “Second Supplemental Privilege Log” is not clearly responsive to Perma-Chink’s

 Rule 34 document requests.

         Notably, Perma-Chink fails to cite any such document request(s) to which this material

 was supposedly responsive, and Nisus cannot find it. For example, there is no request seeking

 communications between Ms. Davis and Nisus’ counsel related to her litigation consulting,

 which was requested in her subpoena. Perma-Chink contending these privileged

 communications are “clearly responsive to earlier Perma-Chink document requests under Fed. R.

 Civ. P. 34(a)” seems to be very mistaken.

 E.      Perma-Chink’s Production of its Corresponding Privilege Log Raises Questions

         Interestingly, Perma-Chink’s conduct in the production of a privilege log for its litigation

 consultant on EPA issues, Mr. Jacoby, runs afoul of Perma-Chink’s contentions. That is, Perma-

 Chink produced a privilege log in response to the Jacoby subpoena. See Exhibit 15. This log


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    Although Perma-Chink seeks to vitiate Nisus’ privilege here, Perma-Chink curiously takes the view that material
 it submits to and receives from the EPA is privileged. See Exhibit 14 (refusing production of EPA documents
 because they may be privileged); see also Exhibit 2 (first and second entries in Perma-Chink’s initial log EPA
 documents withheld based on work product although filed almost three years before litigation ensued). Nisus has
 not adopted Perma-Chink’s questionable position and has produced all of the subpoenaed materials filed with and
 received from the EPA. In fact, the only materials for which Nisus claimed privilege is Ms. Davis’ communications
 with litigation counsel that occurred after she has been retained as a consulting expert.

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 was not produced earlier, although Perma-Chink’s position is that the withheld material would

 “clearly” be responsive to Rule 34 discovery requests. More problematic, Mr. Jacoby was

 deposed on November 21, yet the log was not sent until December 4. This prejudiced Nisus

 because Nisus was unable to ask Mr. Jacoby about the withheld correspondence.

        Perma-Chink’s arguments regarding the production of Nisus’ “Second Supplemental

 Privilege Log” seem to taint Perma-Chink’s own conduct.

              Perma-Chink’s Request for Attorney’s Fees and Costs Lacks Merit

        Perma-Chink moves for “payment of Perma-Chink’s attorney’s fees and costs associated

 with this motion following Nisus’ refusal to provide the additional privilege log detail after

 multiple requests.” Perma-Chink’s Motion, at 1 (emphasis added). The “multiple requests”

 Perma-Chink alleges is one letter that addresses only the “Second Supplemental Privilege Log.”

 A single letter addressing a single issue does not qualify as “multiple requests” as that phrase is

 reasonably interpreted.

        Moreover, Nisus is unaware of Perma-Chink ever raising any issues with its “Initial

 Log.” As to addressing the “Supplemental Privilege Log,” Nisus pointed out that the alleged

 deficiencies also existed in Perma-Chink’s corresponding log, and Perma-Chink dropped the

 issue without a response for two and a half months. Then, Perma-Chink revived its contention

 for the present Motion without any further discussion or amending its own log.

        Perma-Chink, accordingly, does not deserve or warrant sanctions pursuant to Rule

 37(a)(4)(A), which bars such a recovery if:

        the motion was filed without the movant’s first making a good faith effort to obtain the
        disclosure or discovery without court action, or that the opposing party’s nondisclosure,
        response, or objection was substantially justified, or that other circumstances make an
        award of expenses unjust.




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 Perma-Chink’s request fails in all three regards. Perma-Chink did not make a “good faith effort

 to obtain the disclosure or discovery without court action,” as it never addressed most of these

 issues before filing its Motion. Next, Nisus’ response to Perma-Chink’s charges is fully

 justified, as Perma-Chink’s requests should be denied. Third, although the Court encouraged the

 parties to try to resolve discovery issues during the August 3 telephone hearing, Perma-Chink

 decided that it was not worth its time—and this constitutes “circumstances [that] make an award

 of expenses unjust.”

        Perma-Chink’s request for “an award of its attorney’s fees and costs associated with this

 motion and the preceding discovery conference in an amount of not less than $5,000.00” should

 be denied.

                                          CONCLUSION

        Perma-Chink’s arguments fail and it should not be rewarded to disregarding the

 provisions of Rule 37, this Court’s Scheduling Order, and the suggestion of Judge Shirley during

 the August 3 telephone hearing. Instead of filing this Motion, Perma-Chink would have been

 better served by “getting its own house in order.”




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        Nisus also reiterates that if the Court has any questions or reservations regarding Nisus’

 withheld materials, Nisus is more than happy to provide them for an in camera review.

        Dated this 2d day of September, 2004.

                                              Respectfully submitted,


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                                                    Certificate of Service

                     The undersigned hereby certifies that on September 2, 2004, a copy of the
 foregoing “PLAINTIFF NISUS CORPORATION’S OPPOSITION TO PERMA-CHINK’S
 MOTION TO COMPEL DOCUMENTS CITED IN NISUS’ PRIVILEGE LOGS” was filed
 electronically. Notice of this filing will by sent by operation of the Court’s electronic filing
 system to all counsel indicated on the electronic filing receipt. All other counsel, if any, will be
 served by regular U.S. Mail. Counsel may access this filing through the Court’s electronic filing
 system.




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